    Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 1 of 34 PageID #:50



                         THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS



REBECCA CASTILLO,

                        Plaintiff,                Case No. 1:18-cv-01536
        v.
                                                  Honorable John Z. Lee
HICKORY FARMS, LLC,

                        Defendant.


                                          Exhibit List
Exhibit Description

   A         Affidavit of Judy Ransford

  A-1        Excerpt of Web Development Workshop Presentation

  A-2        Accessible360 Engagement Agreement

   B         Gniewkowski Consent Decree

   C         PACER Search for Rebecca Castillo




22408285.1
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 2 of 34 PageID #:51




                    Exhibit A
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 3 of 34 PageID #:52
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 4 of 34 PageID #:53
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 5 of 34 PageID #:54
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 6 of 34 PageID #:55




                 Exhibit A-1
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 7 of 34 PageID #:56




        2018 WEB ROADMAP DISCOVERY WORKSHOP
                                     April 4, 2018




                   © 2018 Hickory Farm s,L L C.P roprietary& Confidential       1
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 8 of 34 PageID #:57




             WHITEBOARD & PLANNING SESSION




                   © 2018 Hickory Farm s,L L C.P roprietary& Confidential       31
                     Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 9 of 34 PageID #:58




                                                                   ROADMAP PRIORITIES




        ADDRESS
                    IMPLEMENT FUNCTIONALITY & ADJUST BUSINESS PROCESSES TO MEET REQUIREMENTS.
COMPLIANCE ISSUES
                      • Complete ADA audit & implement deliverables by settled deadline
                      • Implement GDPR functional requirements and business processes by May 28th deadline


                      • HTTPS full-site migration



                                                          © 2018 Hickory Farm s,L L C.P roprietary& Confidential   32
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 10 of 34 PageID #:59




                       TIMELINE - CHALLENGED




                                                                                 33
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 11 of 34 PageID #:60




                 Exhibit A-2
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 12 of 34 PageID #:61
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 13 of 34 PageID #:62
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 14 of 34 PageID #:63
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 15 of 34 PageID #:64
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 16 of 34 PageID #:65
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 17 of 34 PageID #:66
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 18 of 34 PageID #:67
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 19 of 34 PageID #:68
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 20 of 34 PageID #:69
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 21 of 34 PageID #:70
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 22 of 34 PageID #:71
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 23 of 34 PageID #:72
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 24 of 34 PageID #:73
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 25 of 34 PageID #:74
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 26 of 34 PageID #:75
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 27 of 34 PageID #:76




                     Exhibit B
Case:Case
     1:18-cv-01536
          2:17-cv-00417-AJS
                   Document #:
                            Document
                               16-1 Filed:
                                        11004/26/18
                                              Filed 08/29/17
                                                     Page 28 ofPage
                                                                34 PageID
                                                                    1 of 5 #:77



                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF PENNSYLVANIA

  Rachel Gniewkowski, et al,
                                                     No. 2: 17-cv-00417-AJS
             Plaintiffs,
                                                     LEAD CASE
  vs.

  Hickory Farms, LLC

             Defendant.

                                       CONSENT DECREE

        1.     This Consent Decree is entered into as of the Effective Date, as defined below in
Paragraph 10, by and between the following parties: Plaintiffs, Access Now, Inc., R. David New,
and Rachel Gniewkowski (collectively "Access Parties"), and Defendant, Hickory Farms, LLC,
("Hickory Farms").

                                           RECITALS

        2.      Title III of the Americans with Disabilities Act of 1990 ("ADA"), 42 U.S.C. §§
12181- 12 I 89 ("ADA") and its implementing regulation, 28 C.F.R. pt. 36, prohibit discrimination
on the basis of disability in the full and equal enjoyment of the goods, services, facilities,
privileges, advantages, and accommodations of any place of public accommodation by any private
entity that owns, leases (or leases to), or operates any place of public accommodation. 42 U.S. C.
§ 12182(a); 28 C.F.R. § 36.20 I(a).

         3.     On or about January 5, 2017, certain of the Access Parties sent a pre-litigation
letter to Hickory Farms, asserting that Hickory Farms' website had substantial access barriers, in
violation of the ADA.

       4.       On April 1, 2017, the Access Parties filed this lawsuit against Defendant. The
Access Parties alleged that Defendant's website, www .hickoryfarms.com, (the "Website"),
contains barriers that prevent full and equal use by persons with a visual impairment, in violation
ofTitle IlloftheADA,42 U.S.C. §§12181-12189.

        5.   Defendant denies the Website violates Title III of the ADA or any other statute or
regulation. By entry into this Consent Decree, Defendant does not admit or concede any
wrongdoing.

        6.     This Consent Decree resolves, settles, and compromises all issues between the
Parties based on the allegations set forth in this lawsuit.


4110306 .1
Case:Case
     1:18-cv-01536
          2:17-cv-00417-AJS
                   Document #:
                            Document
                               16-1 Filed:
                                        11004/26/18
                                              Filed 08/29/17
                                                     Page 29 ofPage
                                                                34 PageID
                                                                    2 of 5 #:78
                                         JURISDICTION

         7.     Plaintiff claims that Defendant's Website is a public accommodation within the
definition of Title III of the ADA, 42 U.S.C § 12181 (7). Defendant denies that its Website is a
public accommodation or a place of public accommodation or is otherwise subject to Title III of
the ADA.

       8.     This Court has jurisdiction over this action under 28 U.S.C. §§ 1331 and 1345,
and 42 U.S.C. § 12188. The Parties agree venue is appropriate.

                                   AGREED RESOLUTION

        9.    The Parties agree that it is in their best interest to resolve this lawsuit on mutually
agreeable terms without further litigation. Accordingly, the Parties agree to the entry of this
Consent Decree without trial or further adjudication of any issues of fact or law raised in
Plaintiffs Complaint.

    In resolution of this action, the parties hereby AGREE and the Court expressly
APPROVES, ENTERS, AND ORDERS the following:

                                         DEFINITIONS

        10.    Effective Date means the date on which this Consent Decree is entered on the
Court's Docket Sheet following approval by theCourt.

       11.      Visual impairment means any physical, mental, or sensory impairment that
substantially limits a person in the major life activity of seeing.

                                              TERM

        12.     The term of this Consent Decree shall commence as of the Effective Date and
remain in effect for the earlier of: (a) twenty-seven (27) months from the Effective Date; or (b) the
date the regulations are adopted in the Department of Justice's anticipated but yet-to-be adopted
regulations for websites under Title III of the ADA.

                           COMPLIANCE WITH TITLE III OF THE ADA

        13.     Defendant shall engage an experienced accessibility consultant to assess the
Website and to provide Defendant with specific recommendations to facilitate website
accessibility and conformance with Web Content Accessibility Guidelines 2.0 Level A and AA
Success Criteria ("WCAG 2.0 AA").

        14.     Defendant shall ensure full and equal enjoyment of the goods, services, facilities,
privileges, advantages, and accommodations provided by and through its Website according to the
following timeline and requirements provided that the following dates will be extended in the
instance that the Department of Justice releases regulations for websites under Title III of the



4110306 .1
 Case:Case
      1:18-cv-01536
           2:17-cv-00417-AJS
                    Document #:
                             Document
                                16-1 Filed:
                                         11004/26/18
                                               Filed 08/29/17
                                                      Page 30 ofPage
                                                                 34 PageID
                                                                     3 of 5 #:79
ADA while this Consent Decree is in effect and which contain compliance dates and/or deadlines
further in the future. No later than 27 months after the Effective Date of this Consent Decree,
Defendant shall make reasonable efforts to comply with the recommendations of its consultant to
ensure that the Website is accessible to individuals with Visual Impairment, including conformity
with WCAG 2.0 AA or the applicable standard adopted by the Department of Justice.

       15.     The Parties acknowledge that Defendant is unable to perform any upgrades or
modifications to its Website between the period from October 15-January 15 ("Code Freeze") in
any given year.


       16.      Any notice or communication required or permitted to be given to the Parties
hereunder shall be given in writing by e-mail and by overnight express mail or United States first
class mail, addressed as follows:

         To Plaintiffs:

         Benjamin J. Sweet, Esquire
         Carlson Lynch Sweet Kilpela&Carpenter, LLP
         1133 Penn A venue, 5th Floor
         Pittsburgh, PA 15222
         4 l 2-322-9243(phone)
         412-231-0246 (fax)
         ktucker@carlsonlynch.com

         To Defendants:

         Lynn Vuketich Luther. Esq.
         Eastman & Smith, Ltd.
         One SeaGate, 24th Floor
         P.O. Box 10032
         Toledo, OH 43699-0032
         Telephone: (419) 241-6000
         Fax: (419)247-1777
         L VLuther@eastmansmith.com

                                      MODIFICATION

       17.    No modification of this Consent Decree shall be effective unless in writing and
signed by authorized representatives of all Parties.

                          ENFORCEMENT AND OTHER PROVISIONS

        18.    The interpretation and enforcement of this Consent Decree shall be governed by
the laws oftheCommonwealth of Pennsylvania.




4110306 .1
     Case:Case
          1:18-cv-01536
               2:17-cv-00417-AJS
                        Document #:
                                 Document
                                    16-1 Filed:
                                             11004/26/18
                                                   Filed 08/29/17
                                                          Page 31 ofPage
                                                                     34 PageID
                                                                         4 of 5 #:80
             19.     Plaintiffs and Defendant have settled all matters relating to costs, damages,
    attorneys' fees, experts' fees, and other financial matters sought in Plaintiffs' complaint through a
    separate, confidential agreement (the " Letter Agreement"') hereby incorporated by reference into
    this Consent Decree. This Consent Decree and the Letter Agreement comprise the entire
    agreement of the Parties concerning the allegations set forth in Plaintiff's Complaint and no other
    statement, promise, or agreement, either written or oral, made by any party or agent of any party,
    that is not contained in this Consent Decree shall be enforceable.


            20.    In the event Plaintiffs allege that Defendant failed to meet its obligations
    pursuant to paragraphs 13 or 14 of the Consent Decree or Defendant alleges that there is an
    element of WCAG 2.0 AA with which it cannot substantially comply, the party making such
    claim will notify the other party in writing with reasonable detail of the condition at issue.
    Within 30 days of receipt of written notice, the party receiving notice will provide a written
    response. The parties will make a good faith effort to resolve the dispute informally. If the
    issue remains unresolved 60 days after the notice is given, the parties will mutually select an
    independent accessibility consultant with experience in accessible website design to evaluate
    whether a breach of the Consent Decree has occurred as defined in Paragraph 21 herein.


            21.     There will be no breach of this Consent Decree unless (a) the independent
    accessibility consultant determines that the Website is not accessible by a person with a Visual
    Impairment who has average screen reader competency 1 using a prominent commercially
    available screen reader including but not limited to Jaws, Voiceover, or NVDA in combination
L   with one of the following browsers (in versions of which are currently supported by their
    publishers): Internet Explorer, Firefox, Safari and Chrome; and (b) Defendant fails to remedy
    the issue within a reasonable period of time of not more than sixty (60) days after receiving the
    independent accessibility consultant's opinion. If the independent accessibility consultant
    estimates it will take longer than sixty days to make the necessary changes, the amount of time
    estimated by the independent accessibility consultant will control.           If the independent
    accessibility consultant finds that the inability to use a screen reader cannot be remedied using
    reasonable efforts, Defendants shall not be obligated to remedy the item.

            22.     If any provision of this Consent Decree is determined to be invalid,
    unenforceable or otherwise contrary to applicable law, such provision shall be deemed restated
    to reflect, as nearly as possible and to the fullest extent permitted by applicable law its original
    intent and shall not in any event affect any other provisions all of which shall remain valid and
    enforceable to the fullest extent permitted by applicable law.

             23.     The signatories represent that they have the authority to bind the respective parties,

    1
      The phrase "person with a Visual Impairment who has average screen reader competency" is intended to refer to
    the general body of persons with Visual Impairments who use screen readers for effective communication with the
    Internet and various websites. The term is not intended to narrowly identify someone with a particular level of
    competency but instead is intended to be inclusive, while ruling out "outliers" in terms of screen reading software
    use proficiency. Therefore, the phrase "person with a Visual Impairment who has average screen reader
    competency" is intended to exclude the person who has just recently started using a screen reader and has very little
    experience and competence using it and at the other extreme to also exclude a blind, tech savvy person with
    substantial experience using a screen reader while including most users in between.



    4110306 .1
Case:Case
     1:18-cv-01536
          2:17-cv-00417-AJS
                   Document #:
                            Document
                               16-1 Filed:
                                        11004/26/18
                                              Filed 08/29/17
                                                     Page 32 ofPage
                                                                34 PageID
                                                                    5 of 5 #:81


  Access Now, Inc .. R. David New, Rachel Gniewkowski, and Hickory Farms, LLC to this
  Consent Decree.

                             CONSENT DECREE HAS BEEN READ

          24.     The Consent Decree has been carefully read by each of the Parties, and its
  contents are known and understood by each of the Parties. This Consent Decree is signed freely
  by each party executing it. The Parties each had an opportunity to consult with their counsel
  prior to executing the Consent Decree.

  Agreed and Consented to:
              ,.. ,··'/




  ACCESS NOW, INC.


  By~
  Its~/,.,,..:·
    1




  HICKORY FARMS, LLC


  By    ~\G{_                                                                f/z~1/r1
                                                                         Date
  1ts__.(;....,,_,,."-'-n_o_ _ _ _ _ _ __

  DONE AND ORDERED this        ~ay of __&G ·-·-"-' 2017




 -1110306 1
Case: 1:18-cv-01536 Document #: 16-1 Filed: 04/26/18 Page 33 of 34 PageID #:82




                     Exhibit C
                               Case: 1:18-cv-01536 Document #:P 16-1   Filed: 04/26/18 Page 34 of 34 PageID #:83
                                                                ACER S earchR esults
                                                               https://pcl.uscourts.gov/pcl/pages/search/findP arty.jsf

caseT itle                                          caseN um berFull dateFiled     dateT erm ed natureO fS uit caseL ink
R ebeccaCastillov.CatherineS toresCorporationetal   2:2017cv01226        2/15/2017 5/24/2017               446 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?670433
R ebeccaCastillov.Beveragesand M oreIncetal         2:2017cv01228        2/15/2017 9/26/2017               446 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?670447
R ebeccaCastillov.S eesCandies,Inc.etal             2:2017cv04413        6/14/2017 6/16/2017               446 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?681119
R ebeccaCastillov.DicksS portingGoods,Inc.etal      2:2017cv05576        7/27/2017     3/8/2018            446 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?685009
R ebeccaCastillov.M arriottInternational,Inc.etal   2:2017cv06625         9/8/2017 10/3/2017               446 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?688503
R ebeccaCastillov.BenBridge-Jew eler,Inc.etal       2:2017cv08134        11/7/2017 2/23/2018               440 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?693697
R ebeccaCastillov.HeritageHom eGroup,L L C          2:2018cv01491        2/22/2018 4/11/2018               446 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?702142
R ebeccaCastillov.N ike,Inc.etal                    2:2017cv08908       12/11/2017 3/21/2018               440 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?696293
R ebeccaCastillov.Carm ax BusinessS ervices,L L C   2:2017cv09040       12/15/2017     3/8/2018            446 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?696805
R ebeccaCastillov.Check'nGoofCalifornia             2:2018cv02751         4/4/2018                         440 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?706282
R ebeccaCastillov.HaydenGirls,Inc.etal              2:2018cv02774         4/4/2018                         446 https://ecf.cacd.uscourts.gov/cgi-bin/iqquerym enu.pl?706340
Castillov.S ears,R oebuck& Co.                      1:2017cv05286        7/18/2017 9/21/2017               446 https://ecf.ilnd.uscourts.gov/cgi-bin/iqquerym enu.pl?342263
Castillov.Eurom arketDesigns,Inc.                   1:2017cv09317       12/28/2017 1/30/2018               446 https://ecf.ilnd.uscourts.gov/cgi-bin/iqquerym enu.pl?347686
Castillov.DickBlickHoldings,Inc.                    1:2017cv09358       12/29/2017 2/27/2018               446 https://ecf.ilnd.uscourts.gov/cgi-bin/iqquerym enu.pl?347724
Castillov.Hickory Farm s,L L C                      1:2018cv01536         3/1/2018                         446 https://ecf.ilnd.uscourts.gov/cgi-bin/iqquerym enu.pl?349884
Castillov.AvedaS ervicesInc.                        2:2017cv06009       10/13/2017                         446 https://ecf.nyed.uscourts.gov/cgi-bin/iqquerym enu.pl?408241
Castillov.O riginsN aturalR esourcesInc.            2:2017cv07221       12/12/2017                         446 https://ecf.nyed.uscourts.gov/cgi-bin/iqquerym enu.pl?410564
Castillov.S tevenM addenL td.                       1:2018cv00119         1/8/2018                         446 https://ecf.nyed.uscourts.gov/cgi-bin/iqquerym enu.pl?411542
Castillo v.CasperS leep,Inc.                        1:2017cv07474        9/29/2017 11/21/2017              446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?481393
Castillo v.J.Crew Group,Inc.                        1:2017cv08437        11/1/2017 12/26/2017              446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?483140
Castillo v.FootL ocker,Inc.                         1:2017cv08480        11/2/2017 2/20/2018               446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?483218
Castillo v.EileenFisher,Inc.                        1:2017cv08542        11/3/2017     4/2/2018            446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?483333
Castillo v.Bally Am ericas,Inc.                     1:2017cv09130       11/21/2017 4/16/2018               446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?484275
Castillo v.GodivaChocolatier,Inc.                   1:2017cv09624        12/7/2017                         446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?485043
Castillo v.M ichaelKorsR etail,Inc.                 1:2017cv09748       12/12/2017 1/12/2018               446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?485269
Castillo v.AnneFontaine,Inc.                        1:2018cv00422        1/17/2018                         446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?486823
Castillo v.T ory Burch,L L C                        1:2018cv00951         2/2/2018 3/27/2018               446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?487831
Castillo v.Berluti,L L C.                           1:2018cv01177         2/9/2018     3/6/2018            446 https://ecf.nysd.uscourts.gov/cgi-bin/iqquerym enu.pl?488242
Castillov.T hingsR em em bered,Inc.                 1:2017cv01846         9/1/2017     1/4/2018            446 https://ecf.ohnd.uscourts.gov/cgi-bin/iqquerym enu.pl?236277
Castillov.Jo-AnnS tores,L L C                       5:2017cv02110        10/6/2017                         446 https://ecf.ohnd.uscourts.gov/cgi-bin/iqquerym enu.pl?236982
Castillov.W hiteCastleM anagem entCom pany          2:2017cv00841        9/25/2017 2/12/2018               445 https://ecf.ohsd.uscourts.gov/cgi-bin/iqquerym enu.pl?206524
